Case 1:17-cv-01410-LPS-CJB Document 10 Filed 11/29/17 Page 1 of 2 PageID #: 80



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

DIVERSIFIED OBSERVATION LLC                     )
           Plaintiff,                           )
                                                ) Civil Action No. 1:17-cv-1410-LPS-CJB
v.                                              )
                                                )
HP INC.,                                        )
              Defendant.                        )
       STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME

       Counsel for Plaintiff and counsel for Defendant have met and conferred regarding

extending Defendant’s time to respond to Plaintiff’s Complaint (D.I. 1). Subject to the

Court’s approval, Plaintiff requests that Defendant’s time to answer, move, or otherwise

respond to the Complaint be extended up to and including January 15, 2018. The reason for

this requested extension is to allow counsel for Defendant additional time to investigate the

allegations set forth in Plaintiff’s Complaint and consider an appropriate response. No party

will be prejudiced by this extension.

Dated: November 29, 2017                   STAMOULIS & WEINBLATT LLC

                                           /s/ Richard C. Weinblatt
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                                           Richard C. Weinblatt #5080
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Case 1:17-cv-01410-LPS-CJB Document 10 Filed 11/29/17 Page 2 of 2 PageID #: 81



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                                      Attorneys for Plaintiff
                                      Diversified Observation LLC


SO ORDERED, this ___________ day of ________________, 2017.

                                     ____________________________________
                                     Judge - United States District Court
 	




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